     Case 18-42994-drd7           Doc 272 Filed 11/26/20 Entered 11/26/20 01:01:30                         Desc Ntc
                                    Creditors to File Claims Page 1 of 1
506 (7/15)
                                    UNITED STATES BANKRUPTCY COURT
                                         Western District of Missouri

                                                                                                       FILED
                                                                                                        11/26/20
                                                                                                    U.S. Bankruptcy Court
                                                                                                   Western District of Missouri
In re: Debtor(s) (name(s) used by the debtor(s) in the last 8 years, including married, maiden, trade, and address):

   Carol Linda Dille                                                                          Case No.:
   4937 Westwood Rd                                                                           18−42994−drd7
   Kansas City, MO 64112
Social Security No.:
   xxx−xx−6331



                       NOTICE TO CREDITORS AND OTHER PARTIES IN INTEREST
                                   OF THE NEED TO FILE CLAIMS

Notice is hereby given that:

    It appeared from the schedules of the debtor at the time of filing that there was no estate from which any dividend
could be paid to creditors, and the notice to creditors advised that it was unnecessary for any creditor to file his claim
at that time.

   It now appears that there is an estate from which a dividend to creditors may be paid and creditors must now file
claims in this case in order to share in any distribution from the estate.

                          DO NOT FILE A CLAIM IF YOU HAVE ALREADY DONE SO.

                                     CLAIMS MUST BE FILED ON OR BEFORE

                                                        2/26/21
       You can electronically file your Proof of Claim and exhibits with the Court by using the link below.
            You must also send a copy with documentation to the debtor's attorney and case trustee.

                                            ePOC−Electronic Proof of Claim

                                 http://www.mow.uscourts.gov/bankruptcy/ePOC.html

   Claims which are not filed on or before the above date will not be allowed, except as otherwise provided by law. A
claim may be filed in the office of the Bankruptcy Court on an official form prescribed for a proof of claim.

                 Creditors who move prior to receiving a final distribution must notify the Court
                                           of any change of address.




Date of issuance: 11/26/20                                                     /s/ Paige Wymore−Wynn ,

                                                                               Court Executive
